                    IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION


UNITED STATES OF AMERICA,                 )                   Case No. 3:97CR294-20
                                          )                   (Financial Litigation Unit)
v.                                        )
                                          )
JEFFREY M. GULLER,                        )
                                          )
__________________________________________)

            ORDER ALLOWING GOVERNMENT’S WRIT OF GARNISHMENT

       A motion having been duly brought before this Court for an order for a writ of continuing

garnishment by the United States of America, and the Court having considered the same, the Court

will allow the writ of garnishment and finds that the proceeds from the writ issued June 24, 2008,

should be deposited with the Court Registry in an interest-bearing account.

       It is, therefore, ORDERED, ADJUDGED AND DECREED that:

       1.      The writ of continuing garnishment is allowed.

       2.      The proceeds of the writ shall be deposited with the Clerk of Court in an interest-

bearing account.

       3.      Upon receipt of the funds the Clerk of the Court , as soon as the business of his office

allows, will place the said funds in an interest-bearing account at the prevailing rate of interest

pending further order of the court.




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       4. The government will serve a copy of this Order upon the Clerk or the Financial Deputy

Clerk, along with the aforementioned proceeds of the writ of continuing garnishment, which will

remain deposited into the Registry of the Court until further order of this Court.

       SO ORDERED.

                                                 Signed: August 26, 2008




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